      Case 7:20-cv-00097-WLS-MSH Document 9 Filed 06/09/20 Page 1 of 1




                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF GEORGIA
                            VALDOSTA DIVISION

M.V.N.,                                   :
                                          :
                     Petitioner,          :
                                          :
v.                                        :      CASE NO. 7:20-CV-97-WLS-MSH
                                          :             28 U.S.C. § 2241
Warden, IRWIN COUNTY                      :
DETENTION CENTER, et. al.,                :
                                          :
                 Respondents.             :
_________________________________

                                   ORDER TO ANSWER

       The Court received Petitioner’s application for habeas corpus relief (ECF No. 1) on

May 19, 2020. Respondents timely filed a Return on June 8, 2020 (ECF No. 8). They seek

additional time to file a comprehensive response. Resp’ts’ Return 2-3, ECF No. 8.

Respondents’ request for additional time is granted. They have thirty (30) days to file a

comprehensive response. Within fifteen (15) days thereafter, Petitioner should file a reply.

The Court will consider whether to hold an evidentiary hearing on the merits of Petitioner’s

application once briefing is complete.

       SO ORDERED, this 7th day of June, 2020.

                                              /s/ Stephen Hyles
                                              UNITED STATES MAGISTRATE JUDGE
